Case 13-15267-elf      Doc 722    Filed 06/28/19 Entered 06/28/19 10:56:12             Desc Main
                                  Document     Page 1 of 24

                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                               :      Chapter 12
                                                     :
       RENEE M. THORPE,                              :
                                                     :
                      Debtor                         :      Bky. No. 13-15267 ELF

                                 MEMORANDUM
                                     I. INTRODUCTION

       On June 22, 2016, Joseph Q. Mirarchi Legal Services, P.C. (“MLS”), a law firm in which

Joseph Q. Mirarchi (“Mirarchi”) was the sole practitioner, filed a motion (“the Motion”) (“Doc.

581”) seeking payment of $113,400.00 that has been placed in the bankruptcy court clerk’s

registry (“the Escrowed Funds”). The Escrowed Funds constitute thirty-five percent (35%) of the

settlement proceeds of a state court lawsuit (“the C.P. Action”) that the chapter 12 debtor, Renee

M. Thorpe (“the Debtor”), and her non-debtor husband, Dale Thorpe (collectively, “the

Thorpes”), filed against Nationwide Mutual Insurance Company (“Nationwide”).

       Presently, the Motion is before the bankruptcy court on remand from the Court of

Appeals and the district court. The district court instructed this court to make a recommendation

concerning the proper amount of a quantum meruit award to MLS. (See Doc. # 695).

       For the reasons set forth below, I recommend that the district court enter an order

determining that MLS is entitled to $25,200.00 and that the Thorpes are entitled to the

$88,200.00 balance of the Escrowed Funds.




                                               -1-
Case 13-15267-elf         Doc 722      Filed 06/28/19 Entered 06/28/19 10:56:12                  Desc Main
                                       Document     Page 2 of 24


                                    II. PROCEDURAL HISTORY

                                A. Prior to the District Court Remand

          The initial procedural history of this matter is set forth in detail in this court’s

Memorandum dated February 17, 2017. See In re Thorpe, 563 B.R. 576, 580-83 (Bankr. E.D.

Pa. 2017) (“Thorpe I”), recommendation adopted sub nom., U.S. Trustee v. Thorpe, 2017 WL

3084388 (E.D. Pa. July 20, 2017) (“Thorpe II”); aff’d in part, rev’d in part sub nom., In re

Thorpe, 755 F. App’x 177 (3d Cir. Nov. 20, 2018) (nonprecedential) (“Thorpe III”). So, I will

limit the discussion to a brief description of my initial Memorandum and the procedural events

that followed.

          In Thorpe I, after determining that the dispute was a non-core matter, see 563 B.R. at

594–97, I issued proposed findings of fact, proposed conclusions of law and a recommendation

that the district court deny the Motion in its entirety. I concluded that MLS lacked any right to

the Escrowed Funds based on the contingency fee contract between MLS and the Thorpes. I

further concluded that Mirarchi’s professional misconduct precluded any recovery in quantum

meruit.

          By Memorandum and Order entered on July 20, 2017, the district court adopted this

court’s recommendation and denied the Motion. Thorpe II.

          On November 20, 2018, the Court of Appeals affirmed the district court’s order in part,

reversed it in part, and remanded the matter to the district court.

          The Court of Appeals affirmed the district court’s determination that MLS lacked a

contractual right to the Escrowed Funds based on the contingency fee agreement. Thorpe III, 755

F. App’x at 180. The Court of Appeals reversed the district court’s determination that, due to



                                                     -2-
Case 13-15267-elf        Doc 722     Filed 06/28/19 Entered 06/28/19 10:56:12                Desc Main
                                     Document     Page 3 of 24


wrongful conduct, MLS was precluded from a recovery in quantum meruit, reasoning:

                [W]e hold that the doctrine of unclean hands does not bar the quantum meruit
                claim of Mirarchi. We acknowledge that he was placed on administrative
                suspension due to his own failure, although seemingly negligent, to obtain the
                requisite CLE credits to continue practicing law in Pennsylvania. We also
                acknowledge that Mirarchi’s failure to disclose his administrative suspension
                violated the Pennsylvania Rules of Disciplinary Enforcement, see Pa. R.D.E.
                217(b), and that his work on behalf of the Thorpes during his one-month
                administrative suspension constituted the unauthorized practice of law, see 42 Pa.
                C.S.A. § 2524; Pa. R.D.E. 217(j). We do not applaud the manner in which
                Mirarchi handled his representation of the Thorpes once he was placed on
                administrative suspension. Nonetheless, we do not believe his conduct shocks the
                conscience such that he should be completely denied recovery based on the
                doctrine of unclean hands.

Id. at 182.

        The Court of Appeals remanded the matter “to the Bankruptcy Court and the District

Court to determine in the first instance the proper amount of Mirarchi’s recovery in quantum

meruit.” Id. at 183 (footnote omitted).1


        1
                 The Court of Appeals also “le[ft] to the courts the question—which is suggested but not
presented by the record on this appeal — of whether Mirarchi’s claim of quantum meruit is properly
asserted against the Thorpes or instead must be brought against their subsequent attorney after that
attorney is paid.”

Thorpe III, 755 F. App’x at 183 (citation omitted).

                I recommend that the district court treat this question as a non-issue.

                 The Thorpes’ fee arrangement with their subsequent attorney, Herbert McDuffy, Jr.
(“McDuffy”), entitles McDuffy to receive one-third (1/3) of whatever amounts the Thorpes recover from
the settlement of the Nationwide litigation. (August 19, 2016 Transcript at 29; Ex. D-2). This
arrangement excludes from the calculation the payment from the Escrowed Funds that already has been
made to Lititz Properties, LLC pursuant to a court-approved settlement. Thus, the Thorpes’ recovery will
be limited to whatever amount of the Escrowed Funds is left after MLS’s quantum meruit entitlement is
determined. To the extent that the Thorpes prevail, McDuffy is entitled to one-third of that amount.

               In effect, McDuffy has delegated to the Thorpes the task of litigating with MLS the
competing claims to the Escrowed Funds. If the Thorpes prevail, they are obliged to pay him in
                                                                                           (continued...)

                                                      -3-
Case 13-15267-elf            Doc 722   Filed 06/28/19 Entered 06/28/19 10:56:12                 Desc Main
                                       Document     Page 4 of 24


        Following the remand to the district court, by order entered December 17, 2018, the

district court “referred” the matter to this court “to determine the proper amount of [the] quantum

meruit award.” See (Doc. # 695).



                                 B. After the District Court Remand

                                               1. overview

        On December 20, 2018, this court entered an order requiring:

                   on or before January 4, 2019, each party shall file a statement stating whether this
                   court may comply with the requirements of the remand order based on the existing
                   evidentiary record or whether it is necessary and/or appropriate for this court to
                   take further evidence on the issue. If a party asserts that further evidence is
                   necessary and/or appropriate, the party [must] state with specificity the reasons for
                   its position.

(Doc. # 696) (emphasis in original).

        No party in interest filed a timely request for the opportunity to supplement the existing

evidentiary record.

        On March 18, 2019, after determining that additional briefing “would be of assistance to

the court,” I entered another order, this time directing that each party submit a memorandum on

or before April 9, 2019. (Doc. # 706).

        The March 18, 2019 order was specific in describing the issues to be addressed in the

requested memoranda:



        1
            (...continued)
accordance with the fee agreement they made with McDuffy. Furthermore, McDuffy is well aware of
this litigation, having testified in this case, but has made no effort to intervene. Belatedly, McDuffy filed
a memorandum of law (to be discussed again in Part II.B, infra), but at no time has he contended that he
is entitled to a determination that any portion of the Escrowed Funds are payable directly to him.

                                                     -4-
Case 13-15267-elf       Doc 722     Filed 06/28/19 Entered 06/28/19 10:56:12               Desc Main
                                    Document     Page 5 of 24


                (a) the appropriate legal standards to be applied in determining a quantum meruit
                    award in a case in which an attorney’s services have been terminated before
                    the right to a contingent fee has vested; and

                (b) the proper determination of the quantum meruit award based on the facts of
                    this case, with citations to the record (or to the prior findings [of] fact of the
                    district court or the proposed findings of fact of the bankruptcy court) for any
                    facts employed in the analysis.

(Id.).

         As the March 18, 2019 Order indicated on its face, I directed the filing of additional

submissions from the parties to flesh out their positions regarding the applicable legal standards

and to have them point to the relevant facts in the existing record (with citations to the record)

that should be considered in determining MLS’s quantum meruit entitlement.

         Unfortunately, the March 18, 2019 Order triggered a flurry of filings from the parties that

went well beyond the scope of the submissions ordered by the court – a veritable free-for-all of

unsolicited, sometimes untimely, filings and responses. I address those matters below.



                             2. the Thorpe’s Judicial Notice Motion

                                                  a.

         On April 9, 2019, the Thorpes filed a motion, (“the Judicial Notice Motion”) (Doc. #

708), requesting that this court take judicial notice of the Pennsylvania Supreme Court’s March

18, 2019 Order (“the Supreme Court Order”). The Supreme Court Order disbarred Mirarchi

based on an accompanying Report and Recommendations of the Disciplinary Board of the

Supreme Court of Pennsylvania.. The Thorpes also attached to the Judicial Notice Motion a

copy of the seventy-three (73) page report of the Disciplinary Board. (“the Report”).



                                                  -5-
Case 13-15267-elf       Doc 722     Filed 06/28/19 Entered 06/28/19 10:56:12              Desc Main
                                    Document     Page 6 of 24


        The Thorpes contend that Mirarchi’s disbarment is relevant evidence that was not

available before the expiration of the January 4, 2019 deadline set by this court for requesting the

opportunity to supplement the existing record.

        MLS objects to the court’s consideration of this additional evidence on the ground that

the Thorpes are requesting that the court take judicial notice of facts that are in dispute (without

explaining why the facts of the disbarment and the findings in the Report are in dispute). (Doc. #

718).

        I will deny the Judicial Notice Motion, but for reasons other than those offered by MLS. I

conclude that the Supreme Court Order and the Report provide evidence that is either merely

cumulative or irrelevant.



                                                  b.

        The Report describes numerous instances of professional misconduct by Mirarchi

involving, inter alia: (a) the handling and misappropriation of client trust fund monies and (b) the

unauthorized practice of law while under administrative suspension. The Report makes no

specific reference to any conduct involving Mirarchi’s representation of the Thorpes.

        The Report does reference the July 15, 2015 Pennsylvania Supreme Court order (effective

on August 14, 2015) that administratively suspended Mirarchi for failing to comply with his

continuing education requirements, as well as his reinstatement effective September 16, 2015.

(Report ¶¶ 161-62, 185). The Report then states the Disciplinary Board’s finding that between

August 14, 2015 and September 15, 2015, Mirarchi “continued to maintain an office for the

practice of law and to hold himself out as eligible to practice law” and “falsely testified at the


                                                 -6-
Case 13-15267-elf      Doc 722     Filed 06/28/19 Entered 06/28/19 10:56:12              Desc Main
                                   Document     Page 7 of 24


disciplinary hearing that while he was administratively suspended, he ‘did not work on any

cases.’” (Id. ¶¶ 180, 186).

        With the possible exception of the Report’s reference to the unauthorized practice of law,

none of the other, numerous instances of misconduct recited in the Report relate to Mirarchi’s

representation of the Thorpes. It is not possible to tell from the Report whether the Thorpes’ case

was one of the cases the Disciplinary Board was referring to when it found that Mirarchi worked

on cases while under administrative suspension in 2015. But, ultimately, that is of no

consequence. The fact that Mirarchi practiced law by representing the Thorpes while under

administrative suspension in 2015 is not “news” to this court. That fact was established during

the initial hearing in this court and is no longer in dispute. See Thorpe I, 563 B.R. at 586-88,

601-02; see also Thorpe III, 755 F. App'x at 179 (“While suspended, Mirarchi negotiated on

behalf of the Thorpes a settlement with Nationwide for $324,000”).

        As for the Pennsylvania Supreme Court Order, it merely constitutes an administrative

action taken by the Court in 2019, years after the events giving rise to the dispute. It is

irrelevant.

        Consideration of the additional evidence requested by the Thorpes will not affect the

quantum meruit determination. Therefore, I will deny the Judicial Notice Motion.



                  3. the Mirarchi time records and other evidentiary matter

                                                 a.

        On April 9, 2019, MLS also filed its submission in response to the court’s March 19,

2019 Order, which it styled as “Memorandum of Law of Movant Mirarchi Legal Services, P.C.


                                                 -7-
Case 13-15267-elf        Doc 722     Filed 06/28/19 Entered 06/28/19 10:56:12                  Desc Main
                                     Document     Page 8 of 24


Serving to Supplement the Record in Connection with the Third Circuit Court of Appeals

Mandate and Remand of the Motion for Payment of Certain Funds Held in Escrow.” (Doc. #

713) (emphasis added).

        As suggested by its title, MLS attached to the memorandum various documents that

contain evidentiary matter not in the present evidentiary record:

                    •   a “File Activity Log” that purports to be a record of the time Mirarchi
                        expended and costs incurred in this matter from November 20, 2014
                        through December 12, 2018;

                    •   documents that appear to verify expenses incurred by MLS in connection
                        with the Third Circuit Appeal;

                    •   an itemization of the invoices MLS received from Fox Rothschild LLP
                        (“Fox Rothschild”), the law firm that represented MLS during the course
                        of Thorpe I, and

                    •   copies of Fox Rothschild’s state court complaint for unpaid legal fees
                        (“the C.P. Action”) and MLS’s answer and counterclaim to that
                        complaint.2

        In the File Activity Log, MLS asserts that Mirarchi spent 326.30 hours in connection with

this matter, for a total legal fee of $97,890.00 on a lodestar basis. In addition, MLS lists

expenses incurred of $505.00 for filing in the Court of Appeals, $16,916.92 in appellate printing

costs and $57,669.19 in legal fees owed to Fox Rothschild.3 The File Activity Log concludes by

stating that the “Grand Total Quantum Meruit Claim” is $172,981.11, an amount that far exceeds


        2
                MLS also attached copies of the Court of Appeals opinion and docket. These documents
are unnecessary, but innocuous.


        3
                MLS makes no effort to square the reimbursement request for legal fees due to Fox
Rothschild with its position in the C.P. Action that it owes Fox Rothschild nothing and that, in fact, Fox
Rothschild owes MLS $9,581.89.


                                                    -8-
Case 13-15267-elf        Doc 722      Filed 06/28/19 Entered 06/28/19 10:56:12                  Desc Main
                                      Document     Page 9 of 24
the $113,400.00 in Escrowed Funds.4

                                                     b.

        The Thorpes object to the court’s consideration of the additional evidence. I agree that

this evidence should not be considered in fixing the amount of MLS’s quantum meruit

entitlement.

        There are two (2) threshold problems with consideration of the documents attached to

MLS’s memorandum: (1) the evidence is unverified and (2) their submission as an attachment to

the memorandum deprives the Thorpes of the opportunity to cross examine Mirarchi on the

content of the documents – in particular, the File Activity Log.


        4
                In certain respects, the content of the File Activity Log is astounding.

                 During the time period in which MLS served as the Thorpes’ counsel before they
terminated the attorney-client relationship (and excluding the period of Mirarchi’s administrative
suspension) – i.e., from November 20, 2014 to August 14, 2015 and September 16, 2015 to November
12, 2018 – the File Activity Log reflects that Mirarchi claims to have expended approximately 120
hours in providing legal services to the Thorpes. Assuming arguendo that these time records are accurate
and that the services were appropriate and provided a benefit to Thorpes (and, further, that Mirarchi’s
proffered hourly rate of $300.00 is reasonable), this suggests that, based on a lodestar analysis, see Part
IV.A, infra, MLS’s quantum meruit entitlement would be approximately $36,000.00.

                 The remaining amounts claimed by MLS, an additional $136,981.11 (an almost four-fold
increase in the asserted quantum meruit claim) are based either on time personally expended by Mirarchi
in pursuing his quantum meruit claim after his termination as counsel by the Thorpes or are legal
expenses incurred by MLS in retaining outside counsel (Fox Rothschild) to pursue the quantum meruit
claim.

                MLS does not offer any explanation or colorable legal basis for including these
additional amounts in its quantum meruit request. The time spent by Mirarchi after his termination by
the Thorpes, by definition, falls outside of the quantum meruit doctrine, whose purpose is to compensate
a discharged attorney for the value of the services provided prior to the termination of the attorney-client
relationship.

                  As for the amount incurred by MLS in retaining Fox Rothschild, this expense was not
incurred in connection with the C.P. Action, but rather in the de facto, separate “collection” proceeding
in this court in which the Thorpes and MLS made competing claims to the Escrowed Funds. MLS offers
no authority to support a departure from the “American Rule,” in which each party bears its own legal
expenses in the absence of a contractual or statutory fee-shifting provision. See Alyeska Pipeline Serv.
Co. v. Wilderness Soc’y, 421 U.S. 240 (1975).

                                                    -9-
Case 13-15267-elf       Doc 722      Filed 06/28/19 Entered 06/28/19 10:56:12                Desc Main
                                    Document      Page 10 of 24
        But most importantly, and decisively, MLS’ submission is untimely in light of the

January 4, 2019 deadline set by the court’s December 20, 2018 order.

        By failing to respond to the December 20, 2018 order, the parties bound themselves to the

record established during the course of Thorpe I. The March 18, 2019 order (the second post-

remand order entered by this court) did not alter the December 20, 2018 order. It merely

requested and authorized the filing of memoranda on specified issues; it did not reopen the

evidentiary record or authorize MLS to submit additional evidence by attaching documents to its

memorandum.

        If MLS wished, belatedly, to supplement the record, the only proper course would have

been to file a motion to extend the January 4, 2019 deadline and for leave to supplement the

evidentiary record. Had such a motion been filed, and granted, MLS could have offered its

additional evidence at a hearing, subject to the Thorpes’ cross-examination and potential rebuttal

evidence.

        Instead, MLS simply ignored the January 4, 2019 deadline set by the court and, more than

two (2) months after the deadline expired, submitted additional evidence – without offering any

explanation or excuse for its delay. This was improper because evidence may not be submitted

to the court by attaching material to a post-hearing brief5 and because the submission was

untimely.6


        5
                See In re Atlantic Med. Mgmt Servs., Inc., 387 B.R. 654, 657 n. 1 (Bankr. E.D. Pa.
2008); accord In re Bennett, 528 B.R. 273, 275 n.2 (Bankr. E.D. Pa. 2015).


        6
                 See Fed. R. Bankr. P. 9006(b) (a request for enlargement of time set by court order made
after expiration of the deadline requires the filing of a motion and a showing of excusable neglect); see
generally Salisbury v. Town of Watertown, 82 F.R.D. 403, 404 (D. Conn. 1979) (dates fixed by court
order “are not empty formalities. To neglect and ignore a date for action in a court proceeding is in
                                                                                           (continued...)

                                                  -10-
Case 13-15267-elf            Doc 722    Filed 06/28/19 Entered 06/28/19 10:56:12        Desc Main
                                       Document      Page 11 of 24
        In these circumstances, it is appropriate to enforce the January 4, 2019 deadline set by the

December 20, 2018 order and disregard the exhibits attached to MLS’s memorandum. See U.S.

v. Locke, 471 U.S. 84, 101 (1985) (“if the concept of a filing deadline is to have any content, the

deadline must be enforced”); accord Silivanch v. Celebrity Cruises, Inc., 333 F.3d 355, 368 (2d

Cir. 2003) (“the legal system would groan under the weight of a regimen of uncertainty in which

time limitations were not rigorously enforced — where every missed deadline was the occasion

for the embarkation on extensive trial and appellate litigation to determine the equities of

enforcing the bar”); Rockwell Automation, Inc. v. U.S., 7 F. Supp. 3d 1278, 1303 (Ct. Int'l Trade

2014) (deadlines in court orders “must mean something” and “must be respected and honored by

the parties and they must be enforced by the court, unless, of course, they are extended pursuant

to a timely-filed motion”).

        Therefore, my recommendation regarding MLS’s quantum meruit entitlement will be

based entirely on the record made at the hearings held in the course of Thorpe I.




        6
            (...continued)
reality a thinly-veiled species of disrespect . . . for the Court”).


                                                       -11-
Case 13-15267-elf        Doc 722        Filed 06/28/19 Entered 06/28/19 10:56:12                Desc Main
                                       Document      Page 12 of 24
                              III. PROPOSED FINDINGS OF FACT

        I incorporate by reference all of the Proposed Findings of Fact set forth in my prior

Memorandum,7 with the exception of Proposed Finding of Fact No. 57.8 See Thorpe I, 563 B.R.

576, 583–90.

        I supplement the prior Proposed Findings of Fact with the Following Supplemental

Proposed Findings of Fact::

                1. From November 20, 2014 through November 23, 2015, MLS expended 22
                   hours in representing the Thorpes in the C.P. Action.

                2. The $300.00 hourly rate requested by MLS for the services provided by
                   Mirarchi is reasonable.9

        The first Supplemental Proposed Finding of Fact warrants some further explanation.

        During the course of the hearing preceding Thorpe I, MLS’s primary legal theory was that

        7
                While it perhaps goes without saying, in fulfilling the remand mandate in this non-core,
contested matter, I must again submit proposed findings of fact and conclusions of law to the district
court.


        8
               Proposed Finding of Fact No. 57 stated: “The Thorpes' discharge of Mr. Mirarchi as
counsel was based, in significant part, on his administrative suspension, his failure to advise them of the
suspension and what they considered to be his inadequate responses to their inquiries regarding the
suspension.” Thorpe I, 563 B.R. at 589 (footnote omitted).

                The Court of Appeals appears to have found the facts otherwise:

                         It appears to us that the Thorpes’ claim of interest in Mirarchi’s continuing legal
                         education may have been motivated by the significant sum they stood to gain by
                         using his administrative suspension to deny his agreed fees

Thorpe III, 755 F. App’x at 181 n.2.


        9
                 At the time he undertook the representation of the Thorpes, Mirarchi had been practicing
law for almost thirteen (13) years, (8/3/16 N.T. at 13-14) and appeared to have considerable civil
litigation experience. The Thorpes have not expressed vigorous opposition to the requested hourly rate;
they appear to suggest only that it is at the upper end of the possible range of a reasonableness. (See
Thorpes' Memorandum at 29) (unpaginated).


                                                    -12-
Case 13-15267-elf        Doc 722      Filed 06/28/19 Entered 06/28/19 10:56:12                  Desc Main
                                     Document      Page 13 of 24
it was entitled to recover the Escrowed Funds as a matter of contract based on its contingent fee

agreement with the Thorpes. Truly, quantum meruit was an afterthought. Consequently, there is

very little in the record regarding the amount of time MLS expended in representing the Thorpes

in the C.P. Action.

        Initially, Mirarchi stated that he did not keep time records while he represented the

Thorpes. (8/3/16 N.T. at 74).10 When pressed further on the amount of time MLS spent in

representing the Thorpes, the most concrete testimony on the subject occurred in the following

exchange between Mirarchi and the Thorpes’ attorney:

                Q: So, Mr. Mirarchi, as I understand it and I don’t have the pleading in front of
                   me, but my recollection is, is that you have two figures, eight hours and 13
                   hours at different parts in your pleading, is that correct?

                A: If I indicated that, that was my representations and they were correct, yes.

(8/3/16 N.T. at 78).

        There is nothing else in the record quantifying the amount of time MLS spent in

representing the Thorpes between November 20, 2014 and August 14, 2015 and from September

16, 2015 to November 23, 2015.11

        The pleading referenced in the above-quoted exchange between Mirarchi and the

Thorpes’ attorney is the Nunc Pro Tunc Application to Employ Joseph Q. Mirarchi Legal




        10
                Based on this testimony, the File Activity Log that MLS attempted to place into the
record necessarily must be time records that were reconstructed more than three (3) years after MLS’s
representation of the Thorpes concluded.


        11
                  The paucity of the record was the reason I entered the December 20, 2018 order
regarding possible supplementation of the record. As discussed in Part II.B., supra. MLS did not timely
avail itself of the opportunity to provide additional evidence regarding the time it spent representing the
Thorpes.


                                                    -13-
Case 13-15267-elf        Doc 722      Filed 06/28/19 Entered 06/28/19 10:56:12                Desc Main
                                     Document      Page 14 of 24
Services, P.C. as Special Litigation Counsel (“the Application to Employ”) (Doc. # 545).12 In the

Application to Employ, MLS represented that in the weeks following its retention (accomplished

by an exchange of text messages between Dale Thorpe and Mirarchi on December 22, 2014),

MLS thereafter “worked on the matter for approximately thirteen (13) hours.” (Application to

Employ ¶¶ 24, 28). The Application to Employ also stated that, in the weeks following February

17, 2015, MLS expended “at least eight (8) hours revising certain pleadings in the State Court

Action. (Id. ¶ 36).

        The record supports a finding that MLS spent twenty-one (21) hours representing the

Thorpes.13 In their remand memorandum, the Thorpes rounded that number up to twenty-two

(22) hours. (Thorpes’ Memorandum at 11-12) (unpaginated). I accept the Thorpes’ calculation.




        12
                 MLS filed the Application to Employ on April 15, 2016. At that time, the motion
seeking approval of the settlement between the Thorpes and Nationwide in the C.P. Action was pending,
the settlement proceeds had not yet been paid. MLS objected to the settlement and also filed the
Application to Employ in an effort to obtain payment of its claimed contingent fee. Subsequently, I
denied the Application to Employ, approved the settlement without prejudice to MLS’s claim to the
contingent fee and ordered the contingent fee amount to be held in escrow by the court clerk (thereby
creating the Escrowed Funds). (See Doc. # 571).


        13
                  Basing a finding of the time expended by MLS by reference to the two (2) time periods
stated in the Application to Employ dovetails with Mirarchi’s testimony and my prior proposed findings
of fact. At trial, Mirarchi explained that once the pleadings in the C.P. Action closed, little or no work
was done to further the litigation (e.g., discovery) until August 25, 2015, when the settlement discussions
commenced. See Thorpe I, 563 B.R. at 586 & n.14 (Proposed Findings of Fact Nos. 29-32). Of course,
by that later date, Mirarchi was under administrative suspension.


                                                   -14-
Case 13-15267-elf        Doc 722     Filed 06/28/19 Entered 06/28/19 10:56:12                  Desc Main
                                    Document      Page 15 of 24
                                          IV. DISCUSSION

                                  A. Applicable Legal Principles

        In Thorpe III, the Court of Appeals determined that MLS “has a viable quantum meruit

claim of at least some amount.” 755 F. App'x at 183. That is the starting point in my analysis.14

        An action in quantum meruit “sounds in quasi-contract or contract implied in law and

seeks the equitable remedy of restitution where one person has been unjustly enriched by the

services of another.” Thorpe III, 755 F. App’x at 181 (quoting Meyer, Darragh, Buckler,

Bebenek & Eck, P.L.L.C. v. Law Firm of Malone Middleman, P.C., 137 A.3d 1247, 1250 n.4

(Pa. 2016)).15

        At its core, quantum meruit is equitable in nature. See, e.g., Knox v. Herman Gerel, LLP,

2014 WL 2880277, at *20 (E.D. Pa. June 24, 2014); Bednar v. Marino, 646 A.2d 573, 578 (Pa.

        14
                  “It is axiomatic that on remand for further proceedings after decision by an appellate
court, the trial court must proceed in accordance with the mandate and the law of the case as established
on appeal.” Bankers Trust Co. v. Bethlehem Steel Corp., 761 F.2d 943, 949 (3d Cir. 1985); accord CGB
Occupational Therapy, Inc. v. RHA Health Servs., Inc., 499 F.3d 184, 197 (3d Cir. 2007); Laborers' Int'l
Union of N. Am. AFL-CIO v. Foster Wheeler Energy Corp., 26 F.3d 375, 397 (3d Cir. 1994). This axiom
is referred to as “the mandate rule.”


        15
                 MLS’s quantum meruit claim arises from the termination of its contingent fee agreement
with the Thorpes. The contingent fee agreement provided that MLS was entitled to receive thirty-five
percent (35%) of any recovery in the C.P. Action and the Thorpes’ termination of the attorney-client
relationship prior to any recovery in the lawsuit. See Thorpe I, 563 B.R. at 585-86, 590 (Finding of Fact
Nos. 26-27 and 58-62).

                 As the Pennsylvania Superior Court has explained:

                        Upon a client's termination of an attorney-client relationship prior to the
                        occurrence of the contingency set forth in a fee agreement, the client is not
                        relieved of his or her obligation to compensate the attorney for services rendered
                        until the time of termination. In such situations, the terminated attorney generally
                        has a claim in quantum meruit to recover his fees.

Angino & Rovner v. Jeffrey R. Lessin & Assocs., 131 A.3d 502, 508 (Pa. Super. Ct. 2016) (emphasis and

citations omitted).

                                                   -15-
Case 13-15267-elf      Doc 722     Filed 06/28/19 Entered 06/28/19 10:56:12              Desc Main
                                  Document      Page 16 of 24
Super. Ct. 1994); see also Kelly v. Vennare, 2016 WL 1062819, at *10 (Pa. Super. Ct. Mar. 16,

2016) (nonprecedential). The determination of the proper amount of a quantum meruit award is

left to the sound discretion of the trial court. See Mager v. Bultena, 797 A.2d 948, 961 (Pa.

Super. Ct. 2002); Robbins v. Weinstein, 17 A.2d 629, 633 (Pa. Super. Ct. 1941).

       The measure of damages in a quantum meruit action is “limited to the reasonable value of

the services performed.” Meyer, Darragh, 137 A.3d at 1251 n.6.

       These principles are well-settled. Perhaps somewhat less clear is the precise

methodology for measuring the reasonable value of the services performed by an attorney

retained on a contingency whose services are terminated prior to the occurrence of the

contingency. See Mulholland v. Kerns, 822 F. Supp. 1161, 1169 (E.D. Pa. 1993) (“Pennsylvania

does not have a specific method for determining attorneys’ fees quantum meruit”).

       A well-established methodology for determining the reasonable amount of an attorney’s

fee is the lodestar approach: multiplying the reasonable number of hours expended by a

reasonable hourly rate. See, e.g., Jones v. Muir, 515 A.2d 855, 864 (Pa. 1986); see also Lindy

Bros. Builders, Inc. of Phila. v. Am. Radiator & Standard Sanitary Corp., 487 F.2d 161, 167–68

(3d Cir. 1973).

       Pennsylvania courts have employed the lodestar approach as a means of measuring

quantum meruit attorney’s fee awards. See Mager, 797 A.2d at 956; Hiscott & Robinson v.

King, 626 A.2d 1235, 1237–38 (Pa. Super. Ct. 1993); Biersdorf & Assocs., P.C. v. Horner, 33

Pa. D. & C.5th 85, 93 (C.P. 2013).

       A passage in Mager suggests that the lodestar approach is the sole method for

determining a quantum meruit attorney’s fee award:




                                               -16-
Case 13-15267-elf       Doc 722     Filed 06/28/19 Entered 06/28/19 10:56:12               Desc Main
                                   Document      Page 17 of 24
               While the termination of the contract by Mr. Bultena created an immediate right
               in ML&W to compensation for all work performed and costs incurred pursuant to
               that contract, that right included only quantum meruit compensation which is to
               be calculated based on the number of hours worked multiplied by a fair fee.

Mager, 797 A.2d at 957 (emphasis in original).

       Other judicial opinions, however, suggest that a court may have more flexibility in

fashioning a quantum meruit attorney’s fee award.

       In Mager itself, the concurring opinion stated:

               Since a quantum meruit action sounds in equity, fairness should prevail. While the
               remedy in some cases may properly be determined by multiplying the hourly rate
               by the number of hours worked, other cases may warrant a more comprehensive,
               fact-specific approach.

Mager, 797 A.2d at 962 (Joyce, J., concurring).

       Recently, a panel of the Pennsylvania Superior Court read the Mager majority opinion

narrowly and found the Mager concurrence persuasive. In Angino & Rovner v. Jeffrey R. Lessin

& Assocs., 131 A.3d 502, 511 (Pa. Super. Ct. 2016), the court stated:

               However, an important aspect of Judge Joyce's concurrence in Mager is the idea
               that a quantum meruit recovery need not be limited to an hours and expenses
               analysis. . . . [Q]uantum meruit is an equitable action and principles of fairness
               should prevail. Depending on the nature of the case, merely multiplying the hourly
               rate by the number of hours worked may be too narrow of an approach.

       This statement was not mere dictum. The Angino & Rovner, court further held that

“[t]he facts of this case represent a compelling reason to award Angino more than an hours and

expenses quantum meruit recovery.” Id..16


       16
                 Other reported decisions in accord with Angino & Rovner include Paddick v. Butt, 2018
WL 1991737, at *15 (E.D. Pa. Apr. 27, 2018) (employing the lodestar “as a starting point,” but
acknowledging that in some cases, it may be “too narrow of an approach”) (citation omitted) and
Mulholland, 822 F. Supp. at 1169 (E.D. Pa. 1993) (a court “may calculate attorneys' fees quantum meruit
in whatever way seems most reasonable, given all the circumstances of the case before it,” consistent
with In re Trust Estate of LaRocca, 246 A.2d 337 (Pa. 1968)).

               The LaRocca court described the general methodology for determining reasonable
                                                                                         (continued...)

                                                 -17-
Case 13-15267-elf             Doc 722      Filed 06/28/19 Entered 06/28/19 10:56:12                Desc Main
                                          Document      Page 18 of 24


        In the absence of controlling state court precedent, a federal court must try to predict how

the Pennsylvania Supreme Court would resolve an issue by examining the relevant decisional

law of both Pennsylvania intermediate courts and federal courts. See, e.g., Klein v. Weidner, 729

F.3d 280, 283 (3d Cir. 2013) (citing Orson, Inc. v. Miramax Film Corp., 79 F.3d 1358, 1373 n.

15 (3d Cir. 1996)).

        In my view, Angino & Rovner, the most recent intermediate Pennsylvania appellate

decision on the issue before this court, as well as the consistent federal court decisions from this

district, are the best barometers of Pennsylvania law on the subject. Therefore, the foundation of

my quantum meruit analysis will be the lodestar approach, but that calculation will be subject to

modification based on other factual and equitable considerations that may be relevant.



                  B. Determination of the Recommended Quantum Meruit Award

                                                         1.

        The first step in the two-step quantum meruit determination, the calculation of the

lodestar, is not difficult in this case.

        Based upon the twenty-two (22) hours of time that Mirarchi expended in this matter

        16
             (...continued)
attorney’s fees as follows:

                              The facts and factors to be taken into consideration in determining the fee or
                              compensation payable to an attorney include: the amount of work performed; the
                              character of the services rendered; the difficulty of the problems involved; the
                              importance of the litigation; . . . the degree of responsibility incurred; ... the
                              professional skill and standing of the attorney in his profession; the results he
                              was able to obtain; the ability of the client to pay a reasonable fee for the
                              services rendered; and, very importantly, the amount of money . . . in question.

246 A.2d at 339.

                                                        -18-
Case 13-15267-elf       Doc 722    Filed 06/28/19 Entered 06/28/19 10:56:12            Desc Main
                                  Document      Page 19 of 24


before his administrative suspension, (as he himself stated in documents filed with the court and

adopted, if somewhat grudgingly, in his testimony at trial) and his requested $300.00 hourly rate,

Mirarchi is presumptively entitled to a quantum meruit award of $6,600.00.

       The second step in the determination – the factual and equitable adjustment of the

lodestar – has more moving parts. As explained below, I recommend that the lodestar be

adjusted upward based on a qualitative evaluation of the value of the services that MLS provided

to the Thorpes. However, I also recommend a second, downward adjustment of the award based

on other equitable considerations, specifically, Mirarchi’s unprofessional conduct during the

relevant time period.

                                                2.

       In LaRocca, the Pennsylvania Supreme Court stated that among the factors to be

considered in determining the reasonable value of an attorney’s services are the results the

attorney obtained and the amount of money in question. 246 A.2d at 339.

       In this case, the Thorpes obtained a settlement of $324,729.30, a substantial sum. The

question is: what was the value of MLS’s services that contributed to this outcome?

       Based on the facts presented here, the mechanical lodestar methodology (which would

yield an award of only $6,600.00) is too narrow an approach. Rather, equity warrants the

consideration of more qualitative, holistic considerations in measuring the value of MLS’s

services in the C.P. Action.

       When the Thorpes retained MLS, their lawsuit against Nationwide was floundering.

Preliminary Objections to the complaint McDuffy filed on their behalf were pending and could

have resulted in the dismissal of their lawsuit. McDuffy felt he lacked the expertise to overcome


                                               -19-
Case 13-15267-elf          Doc 722    Filed 06/28/19 Entered 06/28/19 10:56:12                Desc Main
                                     Document      Page 20 of 24


this obstacle and to generally navigate the litigation to a successful conclusion. The Thorpes then

retained MLS. Working under some considerable time constraints, MLS responded to the

Preliminary Objections and prevented dismissal of the C.P. Action. Eventually, Mirarchi

persuaded Nationwide not to press its Preliminary Objections. Instead, Nationwide filed an

answer to the amended complaint that MLS filed on the Thorpes’ behalf.17

        When MLS took on the representation, the Thorpes were in a vulnerable position in the

C.P. Action. Its neutralization of Nationwide’s dispositive motion, which permitted the litigation

to proceed to the discovery phase, was a significant contribution to the eventual successful

outcome of the litigation and should be considered in placing a value on MLS’s services.

        Of course, there is no objective formula for measuring value in the context presented

here. That said, I suggest that the following constitutes a fair valuation method in this case.

        At the risk of oversimplification, litigation that does not settle can be categorized as

having three (3) phases: (1) pleadings; (2) discovery; and (3) trial. Throughout all three (3)

phases, representation may also involve settlement negotiations which may terminate the

litigation at any point.

        Here, MLS made a substantial contribution in only one (1) of the three (3) litigation

phases, i.e., the pleading phase. MLS’s contribution was limited to this one (1) phase of the

litigation. MLS did no discovery. And, as a matter of public policy, should MLS should not


        17
                  I am aware that the Thorpes argue that the amended complaint was faulty and that they
suggest that its defects should cause the court to limit the quantum meruit award. However, in Thorpe I,
I was unpersuaded by the Thorpes’ contention that the amended complaint was materially defective or
that MLS’s representation in any other respect (up to the date of Mirarchi’s administrative suspension)
was problematic. See 563 B.R. at 589 n.21 (“To the extent that the Thorpes contend that Mr. Mirarchi's
representation in general was sub-par, they did not prove this point at trial. Their evidence on the issue
was little more than a conclusory expression of lay opinion.”).

                                                   -20-
Case 13-15267-elf       Doc 722      Filed 06/28/19 Entered 06/28/19 10:56:12                Desc Main
                                    Document      Page 21 of 24


receive any favorable consideration based on the settlement negotiations conducted while

Mirarchi was under administrative suspension and engaged in the unauthorized practice of law.

        While one may consider it a form of “rough justice” that may or may not be appropriate

in other factual settings, I consider it equitable in this setting to measure the value of MLS’s

services as constituting one-third of what otherwise would have been the contractual

measurement of the value of the legal services. In other words, on the particular facts presented

here, I propose that the district adopt the finding that, as an initial matter, the presumptive value

of the services provided is one-third (1/3) of the contractual contingent fee, i.e., one-third of

$113,400.00, or $37,800.00.18



                                                   3.

        There is an additional equitable consideration that must be evaluated in fashioning a

quantum meruit award that leads me to recommend a further adjustment – this time downward.

        MLS (acting through Mirarchi) acted inequitably in a variety of ways during the course of

its relationship with the Thorpes. Mirarchi engaged in the unauthorized practice of law in

negotiating a settlement of the C.P. Action. He failed to timely notify the Thorpes of his

administrative suspension, as required by Pennsylvania law. He was uncooperative in his

responses to the Thorpes' request for specific details regarding the duration of the suspension.

And worse, in response to their inquiries, Mirarchi provided the Thorpes with information


        18
                 Another way to conceptualize this valuation approach is as follows. One-third of the
negotiated contingent fee is the value I would place on MLS’s services if: (1) there had been no
professional misconduct; (2) the Thorpes had discharged MLS as their counsel on August 14, 2015 as a
matter of right; and (3) replacement counsel, without doing discovery or engaging in extensive
negotiations, had negotiated the same settlement that the Thorpes eventually obtained in the C.P. Action.

                                                  -21-
Case 13-15267-elf         Doc 722      Filed 06/28/19 Entered 06/28/19 10:56:12            Desc Main
                                      Document      Page 22 of 24


regarding the status of his professional license that was misleading, if not an outright

misrepresentation. See Thorpe I, 563 B.R. at 604.

           I am fully cognizant that the Court of Appeals panel held that Mirarchi’s professional

misconduct was insufficient to preclude MLS from obtaining a quantum meruit award. But I

read the panel’s decision as holding only that, as a threshold matter, Mirarchi’s misconduct was

insufficient to warrant a complete forfeiture of his equitable quantum meruit rights. In its

decision, the panel evaluated Mirarchi’s misconduct under an enhanced standard – i.e., whether

his conduct “shock[ed] the conscience”19 The panel’s employment of such a rigorous standard is

consistent with the equitable maxim that “equity abhors a forfeiture,” See, e.g.., .Accurso v.

Infra-Red Servs., Inc., 169 F. Supp. 3d 612, 621 (E.D. Pa. 2016); In re Wolfe, 378 B.R. 96, 105

(Bankr. W.D. Pa. 2007).

           But now we are beyond the threshold determination whether MLS may invoke equity and

the court’s function is to do equity. In making the equitable, quantum meruit determination

itself, Mirarchi’ professional misconduct is a relevant consideration. Professional misconduct, by

its very nature detracts from the value of the services rendered by an attorney. Furthermore, in

light of the overall equitable nature of the quantum meruit inquiry, consideration of an attorney’s

professional misconduct is appropriate in the fulfilling the court’s function of balancing the

competing interests of the parties and attempting to achieve an overall sense of fairness and

justice:

                  [O]ne who seeks the aid of an equity court is subjected to the imposition of such
                  terms as the settled principles of equity require. The court may impose any


           19
                  Thorpe III, 755 F. App'x at 182.


                                                     -22-
Case 13-15267-elf        Doc 722     Filed 06/28/19 Entered 06/28/19 10:56:12                 Desc Main
                                    Document      Page 23 of 24


                reasonable terms on plaintiff, as the price of the decree, in order to require that he
                or she do equity before having equity.

30A C.J.S. Equity §103 (West 2019) (footnotes omitted) (citing cases).

        Thus, I conclude that it is permissible, appropriate and necessary for a court of equity to

consider the professional misconduct of any attorney in determining the amount of a quantum

meruit award.

        This principle was applied in United States v. 36.06 Acres of Land, 70 F. Supp. 2d 1272

(D.N.M. 1999) to reduce a presumptive quantum meruit award due to attorney misconduct. The

court explained:

                In the present case, the firm's failure to observe the ethical requirement of
                reducing its fee agreement to writing renders its hands less than pristine for
                purposes of this motion. While it is not the province of this Court to sanction
                attorneys for breaching ethical rules, it is within the Court's discretion in an
                equitable proceeding such as this to vindicate the public policy evidenced by those
                rules. Accordingly, the Court holds that a reasonable fee under circumstances
                where the ethical rules have been breached by not putting the fee agreement in
                writing should be less than a reasonable fee in circumstances where no ethical
                breach has occurred.

Id. at 1277; accord Exact Software v. Infocon Sys., Inc., 2011 WL 2490594, at *6-7 (N.D. Ohio

June 22, 2011) (in quantum meruit action, a lawyer’s unethical conduct “may reduce the value of

such services”).20

        20
                 Further, the equitable maxim “equity will not suffer a wrong to be without a remedy” has
some relevance here. The Thorpes suffered a wrong through Mirarchi’s professional misconduct. They
requested the total forfeiture of MLS’s legal fee. While they are not entitled to that relief, Thorpe III,
there should be some remedy for the wrong committed by Mirarchi when he requests equitable relief
from the court.

                  Finally, I also am cognizant of the Court of Appeals’ admonition that the Rules of
Professional Conduct are not substantive law. See Thorpe III, 755 F. App'x at 182. Respectfully, I
suggest that limiting to some degree the equitable relief afforded to an attorney invoking the equity
jurisdiction of the court based on the attorney’s professional misconduct is not applying the professional
                                                                                            (continued...)

                                                   -23-
Case 13-15267-elf             Doc 722    Filed 06/28/19 Entered 06/28/19 10:56:12                  Desc Main
                                        Document      Page 24 of 24


        In the circumstances presented here, I conclude that the appropriate equitable remedy is a

reduction of the presumptive $37,800.00 quantum meruit award by one-third, i.e., by $12,600.00

and I make that recommendation to the district court.



                                           IV. CONCLUSION

        For the reasons stated above, I recommend that the district court enter an order

determining that the Escrowed Funds should be distributed as follows: $25,200.00 to MLS and

$88,200.00 to the Thorpes.




Date: June 28, 2019
                                           ERIC L. FRANK
                                           U.S. BANKRUPTCY JUDGE




        20
             (...continued)
rules as substantive law. I perceive it as part of the process of considering all of the factual
circumstances in the exercise of the equitable discretion accorded to a court of equity.
